91 F.3d 134
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Franklin Dale BROWNER, Sr., Defendant--Appellant.
    No. 95-7996.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 20, 1996.Decided June 27, 1996.
    
      Franklin Dale Browner, Sr., Appellant Pro Se.  Gill Paul Beck, OFFICE OF THE UNITED STATES ATTORNEY, Greensboro, North Carolina, for Appellee.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for a return of property under Federal Rule of Criminal Procedure 41(e).  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Browner, No. CR-90-80-G (M.D.N.C. Nov. 13, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    